Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 1 of 12 PageID 1




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

  PAUL CAPOTORTO,

          Plaintiff,

  v.                                       Case #________________________

  LIFE INSURANCE COMPANY
  OF NORTH AMERICA,

        Defendant.
  ________________________________/

                                  COMPLAINT

          The Plaintiff, PAUL CAPOTORTO, sues the Defendant, LIFE

  INSURANCE COMPANY OF NORTH AMERICA (LINA) and states:

                            Jurisdiction and Venue

          1.    This is an action for relief under the Employee Retirement Income

  Security Act (ERISA), 29 U.S.C. § 1001 et. seq.

          2.    This Court has jurisdiction pursuant to ERISA § 502, 29 U.S.C. §

  1132.

          3.    LINA is an insurance company headquartered in Indiana,

  licensed to transact business in Florida, which is or was at all relevant times

  engaged in business in this District.

          4.    CAPOTORTO is a resident of Cape Coral, Florida.




                                          -1-
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 2 of 12 PageID 2




        5.     CAPOTORTO is a former employee of Waste Management, Inc.

  from September 18, 1996 to March 30, 2006, a business headquartered in

  Houston, Texas, doing business in Lee County, Florida.

        6.     Venue is proper in this District.

                                Governing Plan

        7.     CAPOTORTO is and/or was a participant in each of the plans,

  funds, programs, or arrangements described herein, or in the alternative, was

  at all times relevant a participant in each of the plans, funds, programs, or

  arrangements described herein.

        8.     At all relevant times, CAPOTORTO was a participant in an

  employee benefit plan providing Long Term Disability benefits (hereafter

  referred to as “the Plan”), sponsored by Waste Management, Inc..

        9.     Waste Management, Inc. funded its Plan by purchasing a group

  policy of insurance (Group # LK-980024) issued by LINA. A copy is attached

  hereto Exhibit “A” and is incorporated by reference.

                       The Long Term Disability Claim

        10.    CAPOTORTO was employed by Waste Management, Inc. from

  September 18, 1996 to March 30, 2006

        11.    CAPOTORTO made a claim for Long Term Disability benefits

  under the Plan after he was forced to stop working due to a combination of

  restrictions and limitations resulting from numerous conditions including but

  not limited to:




                                        -2-
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 3 of 12 PageID 3




              a. HIV/AIDS,

              b. chronic diarrhea,

              c. Kaposi’s sarcoma,

              d. hypertension,

              e. spondylosis in the lumbar spine,

              f. arthritis, neuropathy,

              g. fibromyalgia,

              h. extreme weakness and fatigue of the extremities,

              i. chronic back pain, headaches,

              j. dizziness, deep vein thrombosis,

              k. chronic fatigue and chronic lower extremity pain.

        12.      LINA,      the   Plan’s   claim    administrator,      determined   that

  CAPOTORTO was disabled with him in the terms of the plan and paid him

  benefits under the Plan from 2006 until 2012.

        13.      At one point in time, LINA terminated CAPOTORTO’s benefits

  in September 2012, but reinstated those benefits after CAPOTORTO appealed

  the benefit termination.

        14.      LINA terminated CAPOTORTO’s benefits once again in an

  October 19, 2018 letter which terminated benefits effective November 19, 2018.

        15.      In   its   October    2018     termination   letter,    LINA   claimed

  CAPOTORTO did not meet the definition of disability stated in the insurance

  policy which funds the Plan. That definition states:




                                              -3-
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 4 of 12 PageID 4




                The Employee is considered Disabled if, solely
                because of Injury or Sickness, he or she is:
                unable to perform the material duties of his or her
                Regular Occupation;
                and unable to earn 80% or more of his or her Indexed
                Earnings from working in his or her Regular
                Occupation.

                After Disability Benefits have been payable for 24
                months, the Employee is considered Disabled if,
                solely due to Injury or Sickness, he or she is:
                unable to perform the material duties of any
                occupation for which he or she is, or may reasonably
                become, qualified based on education, training or
                experience; and unable to earn 60% or more of his or
                her Indexed Earnings.

                The Insurance Company will require proof of
                earnings and continued Disability.

         16.    CAPOTORTO filed a timely appeal on April 17, 2019

         17.    CAPOTORTO’s various conditions are either unchanged or have

  progressively worsened since LINA originally approved his claim in 2006.

         18.    LINA failed to rely on CAPOTORTO’s treating doctors who have

  not released him back to work in any capacity.

         19.    CAPOTORTO underwent a Functional Capacity Evaluation on

  November 27, 2018 and November 28, 2019 to ascertain his ability to engage

  in physical activities.

         20.    The results of the Functional Capacity Evaluation proved that

  CAPOTORTO had the following restrictions and limitations:

     •   Less than sedentary work capacity;
     •   Occasional lifting ability of 8 pounds from knee to waist, 10 pounds waist
         to shoulder and 8 pounds waist to overhead;
     •   Unable to perform two-handed carry or push/pull 30 feet;



                                         -4-
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 5 of 12 PageID 5




     •   Stand and walk infrequently;
     •   Unable to squat, kneel, balance, crawl;
     •   Infrequently stair climb;
     •   Occasional reach forward with the right and frequently with the left;
     •   Occasional reach overhead bilaterally;
     •   Occasionally handle/grasp and fine manipulation bilaterally;
     •   Performed with a valid and good effort;
     •   Moderate to high level of pain, did not demonstrate symptom
         magnification behavior;
     •   Walks with a cane in his right hand;
     •   Did not meet the strength requirements for sedentary work;
     •   Did not meet the bilateral upper extremity use requirements for
         sedentary work;
     •   Did not meet the positional (sitting) requirements for sedentary work.

         21.    CAPOTORTO underwent a vocational assessment with Ashley

  Johnson, MS, CRC, CLCP on February 8, 2019. Ms. Johnson explained that

  after considering all of the restrictions and limitations provided and all of the

  vocational relevant evidence, CAPOTORTO is unable to return to his own or

  any occupation in the competitive work market.

         22.    CAPOTORTO is unable to meet the demands or requirements of

  any occupation due to the restrictions and limitations outlined by his

  physicians.

         23.    CAPOTORTO is not able to earn 80% or more of his Indexed

  Earnings.

         24.    CAPOTORTO has not been released back to work in any capacity.


           Deemed Denial & De Novo Review Due To LINA’s Failure to
                 Make a Timely Decision on the Claim Appeal

         25.    Upon initiation of a Long Term Disability claim, a claims

  administrator has 45 days with which to make a determination. 29 C.F.R. §


                                        -5-
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 6 of 12 PageID 6




  2560-503.1(i)(3). This period of time “shall begin at the time an appeal is filed

  . . . without regard to whether all the information necessary to make the benefit

  determination on review accompanies the filing” 29 C.F.R. § 2560-503.1(i)(4)).

         26.    A claims administrator may extend the period for up to 45 days,

  and in no event shall the extension exceed a period of 45 days. 29 C.F.R. §

  2560.503-1(i)(1)(i); 29 C.F.R. § 2560.503-1(i)(3).

         27.    CAPOTORTO’s letter dated April 17, 2019 specifically stated that

  “[a]pplicable timelines pursuant to 29 C.F.R. § 2560.503-1 beg[a]n with receipt

  of [that] letter.”

         28.    Based upon the date LINA received the appeal, April 17, 2019,

  the 45th day to either decide CAPOTORTO’s claim or request an extension was

  June 1, 2019. Given the fact that June 1, 2019 was a Saturday, LINA’s deadline

  to render a decision or request an extension was June 3, 2019.

         29.    LINA advised CAPOTORTO the 45th day to either decide his

  claim or request an extension was May 31, 2019.

         30.    On May 2, 2019 LINA requested a 45-day extension from May 31,

  2019 resulting in LINA’s deadline to decide the claim as July 15, 2019.

         31.    On June 26, 2019, LINA re-confirmed the 90th day following the

  appeal was July 15, 2019.

         32.    LINA’s decision was due on July 15, 2019.




                                         -6-
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 7 of 12 PageID 7




        33.      As of the date of filing this Complaint, July 22, 2019, LINA still

  had not reached a decision on CAPOTORTO’s claim in violation of the

  Regulations.

        34.      CAPOTORTO’s claim is deemed denied by LINA’s failure to make

  a decision within the regulations outlined by 29 C.F.R. § 2560-503-1.

        35.      Under 29 C.F.R. § 2560.503-1(l), when LINA does not follow the

  regulated deadlines, CAPOTORTO’s claim is deemed to have exhausted all

  administrative remedies.

        36.      CAPOTORTO is prejudiced by LINA’s failure to make a timely

  decision.

        37.      De novo review applies to this action by virtue of LINA’s violation

  of 29 C.F.R § 2560.503-1.

         Alternatively, De Novo Review Applies Under Texas Law

        38.      The policy which funds the plan was issued in Texas and is

  governed by Texas law. See Exhibit “A,” page 1.

        39.      Texas has banned the delegation of discretion or any such clause

  that “purports or acts to bind a claimant, or grant deference in subsequent

  proceedings, adverse claim decisions or policy interpretations by the insurer”

  in its administrative code. 28 Tex. Admin. Code § 3.1202.

        40.      28 Tex. Admin. Code § 3.1202 is a state insurance law which is

  saved from preemption under ERISA and which applies to this action.




                                          -7-
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 8 of 12 PageID 8




        41.    Texas insurance law barred the Plan at issue from delegating

  discretionary authority to LINA.

        42.    Because Waste Management could not have delegated discretion

  to LINA by operation of law, the de novo standard of review applies to this

  action.

      Alternatively, De Novo Review Applies Because There Was No
                Proper Delegation of Discretion to LINA

        43.    The group policy was drafted in its entirety by LINA.

        44.    The group policy is a contract of adhesion.

        45.    Waste Management, Inc. and LINA use the group insurance

  policy (Exhibit A) as both the Plan document and policy language.

        46.    No other plan documents exist other than the group insurance

  policy (Exhibit A).

        47.    No originating plan document exists which instituted the LINA

  disability plan.

        48.    No originating plan document or other document exists in which

  Waste Management, Inc. reserved any discretionary authority to itself in

  relation to the LINA disability plan.

        49.    The employees or agents of Waste Management, Inc. and LINA

  did not discuss or correspond about the existence, meaning, or significance of

  delegating discretionary authority from Waste Management, Inc. to LINA

  before purchasing the group insurance policy to fund its disability plan.




                                          -8-
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 9 of 12 PageID 9




          50.   At the inception of its disability plan, Waste Management, Inc.

  did not retain to itself the authority to delegate discretionary authority of any

  type to an insurance company from which it was to purchase an insurance

  policy to fund the Plan.

          51.   At the time it purchased the group disability insurance policy

  from LINA, Waste Management, Inc. did not have any discretionary authority

  which it could delegate to an insurance company.

          52.   The group disability insurance policy was drafted entirely by

  LINA.

          53.   No document prepared by LINA delegates any discretionary

  authority to Waste Management, Inc.

          54.   There is no mention of any delegation of discretion within the four

  corners of the Long Term Disability insurance policy.

          55.   Waste Management, Inc. was not delegated discretionary

  authority such that its claim decision is entitled to a discretionary or arbitrary

  and capricious standard of review, because or one or more of the following:

                a)    LINA never had the authority to delegate discretion to

  Almost Family, Inc. following the inception of its disability plan;

                b)    Discretionary authority is a material concept that LINA

  never discussed with Waste Management, Inc;




                                         -9-
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 10 of 12 PageID 10




                   c)    The group insurance policy is a contract of adhesion

   drafted entirely by the funding source company which cannot inject discretion

   into the plan for the first time;

                   d)    If it had power to delegate discretion, LINA did not

   properly delegate discretionary authority over claims decisions to Waste

   Management, Inc.

          56.      De novo review applies to this action.

                                    Benefits at Issue

          57.      CAPOTORTO is entitled to benefits under the Plan consisting of

   Long Term Disability since the date of termination, November 19, 2018,

   through the date of filing this action, as he has met the definition of disability

   based upon restrictions and limitations related to his impairments.

          58.      Benefits under the group disability insurance policy are

   calculated at a rate of 60% of CAPOTORTO’s gross basic monthly earnings.

          59.      As of the date of filing this action, LINA owes CAPOTORTO a

   total of eight monthly benefit payments at the rate of $4,146.00, an aggregate

   sum of $33,168.00.

          60.      Plaintiff is entitled to benefits herein because:

                   (a)   The benefits are permitted under the Plan.

                   (b)   Plaintiff has satisfied all conditions to be eligible to receive

   the benefits.




                                            - 10 -
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 11 of 12 PageID 11




                (c)    Plaintiff has not waived or otherwise relinquished

   entitlement to the benefit.

         61.    Each monthly benefit payment owed since November 19, 2018 is

   a liquidated sum and became liquidated on the date the payment was due and

   payable. Plaintiff seeks pre-judgment interest on each such payment.

         62.    Pursuant to ERISA § 502(g), 29 U.S.C. §1132(g), CAPOTORTO is

   entitled to an award of reasonable attorney fees and costs incurred in an

   action brought under ERISA.        Plaintiff has been required to obtain the

   undersigned attorney to represent him in this matter and has agreed to a

   reasonable attorney fee as compensation to him for his services.

         WHEREFORE, the Plaintiff, PAUL CAPOTORTO, asks this Court to

   enter judgment against the Defendant, LIFE INSURANCE COMPANY OF

   AMERICA, finding that:

         (a)    The Plaintiff is entitled to Long Term Disability benefits from
                through the November 19, 2018 filing of this lawsuit; and

         (b)    Awarding benefits in the amount not paid to the Plaintiff from
                November 19, 2018 to the date of filing this lawsuit - a total of
                $33,168.00, together with pre-judgment interest at the legal rate
                on each monthly payment from the date it became due until the
                date it is paid, and declare entitlement to any additional benefits
                owed to Plaintiff from the time of filing this Complaint to the time
                of Judgment in this action; and

         (c)    Award reasonable attorney fees and costs incurred in this action;
                and

         (d)    For such other and further relief as this Court deems just and
                proper, including but not limited to:




                                         - 11 -
Case 2:19-cv-00509-SPC-NPM Document 1 Filed 07/22/19 Page 12 of 12 PageID 12




               1.    a declaration that Plaintiff’s same claim for benefits
                     continues after the last date of benefits awarded by the
                     Court, without need to file a new application for benefits,
                     and

               2.    remanding Plaintiff’s claim to the Plan Administrator for
                     further action to address continuing benefits after the final
                     date of benefits awarded by this Court, and

               3.    ordering Defendant to advise Plaintiff’s former employer or
                     any other necessary entity that benefits in this action were
                     properly paid through the date of this Court’s Order
                     awarding benefits for purposes of coordinating or
                     reinstating any ancillary benefits which should properly be
                     paid or for which coverage should be awarded as a result of
                     Plaintiff’s receipt of disability benefits under the Plan.

   DATED this 22nd day of July, 2019.

                                  Respectfully submitted,

                                  TUCKER LAW GROUP, P.A.


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                                        - 12 -
